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 1                                UNITED STATES DISTRICT COURT

 2                               NORTHERN DISTRICT OF CALIFORNIA

 3
                                                  )
 4                                                )
     IN RE: ROUNDUP PRODUCTS                      )   MDL No. 2741
 5   LIABILITY LITIGATION                         )
                                                  )   Case No. 3:16-md-02741-VC
 6                                                )
                                                  )   [PROPOSED] LIMITING
 7   This document relates to:                    )   INSTRUCTION
                                                  )
 8   Hardeman v. Monsanto Co.,                    )
     3:16-cv-00525-VC                             )
 9                                                )
                                                  )
10                                                )

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12          Pursuant to the discussion at the March 19, 2019 conference, Monsanto hereby submits
13   the following proposed limiting instruction for post-2012 evidence of company conduct:
14

15          You have heard some evidence of Monsanto’s conduct from after 2012, when Mr.
16   Hardeman stopped using Roundup. You are only to consider conduct after 2012, including any
17   internal Monsanto communications, to the degree it establishes Monsanto’s conduct prior to
18   2012. You must not consider that evidence for any other purpose, including in determining
19   Monsanto’s liability or damages.
20

21   Dated: March 19, 2019                            Respectfully submitted,
22                                                    /s/ Brian L. Stekloff
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                                    [PROPOSED] LIMITING INSTRUCTION
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15                                    Attorneys for Defendant
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                      [PROPOSED] LIMITING INSTRUCTION
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 1                                      CERTIFICATE OF SERVICE
 2          I HEREBY CERTIFY that on this 19th day of March 2019, a copy of the foregoing was

 3   filed with the Clerk of the Court through the CM/ECF system which sent notice of the filing to

 4   all appearing parties of record.

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 6                                                       /s/ Brian L. Stekloff___________

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